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UNITED STATES DISTRICT COURT cd 229 2 jD .
FOR THE DISTRICT OF NEW JERSEY “

 

BRUCE J. WISHNIA, on behaif of Civil Case Number: O7~ 4/47 ( Es)

himself and al! others similarly

situated,
CIVIL ACTION
Plaintiff,
CLASS ACTION COMPLAINT
-against- AND
JURY TRIAL DEMANDED

D.B.F. COLLECTION CORP., and
LISA MARINO, individually.

 

Defendants.

 

 

 

Plaintiff, Bruce J. Wishina, on behalf of himself and all others similarly
situated {hereinafter “Plaintiff”) residing at 148 Pleasantville Road, New Vernon,
New Jersey 07976, by and through his undersigned attorneys, alleges against the
above-named Defendants, D.B.F COLLECTION CORP., with its principal executive
office located at 1383 Sturl Avenue, Hewlett, New York, 11557, (hereinafter
“Defendant D.B.F.”), and Lisa Marino, whose business address is 1383 Sturl
Avenue, Hewlett, New York, 11557 (hereinafter “Defendant Marino"), their
employees, agents, and successor alleges the following:

PRELIMINARY STATEMENT

1. Plaintiff brings this action for damages and declaratory and injunctive

relief arising from the Defendants’ violation of 15 U.S.C. § 1692 ef seq., the Fair

Debt Collections Practices Act (hereinafter “FDCPA”), which prohibits debt

collectors from engaging in abusive, deceptive and unfair practices.

 
 

 

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JURISDICTION AND VENUE

2. This Court has jurisdiction over this action pursuant to 28 U.S.C.
§1331. This is an action for violations of 15 U.S.C. 8 1692 et seq.

3. Venue is proper in this district under 28 U.S.C. §1391(b}{2) because
the acts and transactions that give rise to this action occurred, in substantial part,
in this district.

DEFINITIONS

4. As used in reference to the FDCPA, the terms “creditor,” “consumer,”
“debt,” and “debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. 8
1692{a).

PARTIES

5, The FDCPA, 15 U.S.C. § 1692 et seg., which prohibits certain debt
collection practices provides for the initiation of court proceedings to enjoin
violations of the FDCPA and to secure such equitable relief as may be appropriate
in each case.

6. Plaintiff is a natural person and a resident of the State of New Jersey,
County of Morris and is a “Consumer” as defined by 15 U.S.C. § 1692{a}{3}.

7. Defendant D.B.F. is a domestic business corporation with its principal
executive office located at 1383 Sturl Avenue, Hewlett, New York, 11557, and
with its mailing address at P.O. Box 447, Hewlett, New York 11557.

8. Upon information and belief, the principal purpose of the Defendant

D.B.F. is the collection of debts using the mail, telephone, and facsimile and
 

 

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regularly attempts to collect debts alleged to be due another. Defendant D.B.F. is a
“Debt Collector” as that term is defined by 15 U.S.C. 8 1692(a}(6).

9. Upon information and belief, Defendant Marino is a natural person and
is a collection agent for Defendant D.B.F. and is a necessary party to the fair
adjudication of this Action.

10. Upon information and belief, the principal purpose of Defendant
Marino is the collection of debts using the mail, telephone, and facsimile and
regularly attempts to collect debts alleged to be due another.

CLASS ACTION ALLEGATIONS

11. Plaintiff bring this action as a nationwide class action, pursuant to
Rule 23 of the Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of
himself and all consumers and their successors in interest (the “Class”), who have
received debt collection letters and/or notices from the Defendants which are in
violation of the FDCPA, as described in this Complaint.

12. This Action is properly maintained as a class action. The Class
consists of:

e All consumers who received a collection letters and/or notices from
the Defendants that contained at least one of the alleged violations
arising from the Defendants’ violation of 15 U.S.C. § 1692 et seq.

° The Class period begins one year to the filing of this Action.

13. The Class satisfies all the requirements of Rule 23 of the FRCP for

maintaining a class action:

 

 
 

 

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Upon information and belief, the Class is so numerous that joinder
of all members is impracticable because there are hundreds and/or
thousands of persons who have received debt collection letters
and/or notices from the Defendants that violate specific provisions
of the FDCPA. Plaintiff is complaining of a standard form letter
and/or notice that are sent to hundreds and/or thousands of
persons.

There are questions of law and fact which are common to the
Class and which predominate over questions affecting any
individual Class member. These common questions of law and fact
include, without limitation:

a. Whether the defendants violated various provisions of the
FDCPA including but not limited to 15 U.S.C. §§ 1692e,
16924(8), 1692e(9), 1692e(10), 1692e(14), 1692e{16),
1692c(c) and 1692g(a);

b. Whether Plaintiff and the Class have been injured by the
Defendants’ conduct;

Cc. Whether Plaintiff and the Class have sustained damages
and are entitled to restitution as a result of Defendants’
wrongdoing and if so, what is the proper measure and
appropriate statutory formula to be applied in determining

such damages and restitution; and

 
 

 

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d. Whether plaintiff and the Class are entitled to declaratory
and/or injunctive relief.

Plaintiff's claims are typical of the Class, which all arise from the
same operative facts and are based on the same legal theories
Plaintiff has no interest adverse or antagonistic to the interest of
the other members of the Class.
Plaintiff will fairly and adequately protect the interest of the Class
and has retained experienced and competent attorneys to represent
the Class.
A Class Action is superior to other methods for the fair and
efficient adjudication of the claims herein asserted. Plaintiff
anticipates that no unusual difficulties are likely to be encountered
in the management of this class action.
A Class Action will permit large numbers of similarly situated
persons to prosecute their common claims in a single forum
simultaneously and without the duplication of effort and expense
that numerous individual actions would engender. Class treatment
will also permit the adjudication of relatively smal! claims by many
Class members who could not otherwise afford to seek legal
redress for the wrongs complained of herein. Absent a Class
Action, class members will continue to suffer losses of statutory

protected rights as well as monetary damages. If Defendants’
 

 

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conduct will proceed without remedy they will continue to reap and
retain the proceeds of their ill-gotten gains.

e Defendants have acted on grounds generally applicable to the
entire Class, thereby making appropriate final injunctive relief or
corresponding declaratory relief with respect to the Class as a
whole.

STATEMENT OF FACTS

14. On or about April 20, 2007, Defendant D.B.F mailed through the
United States Postal Service a collection letter addressed to Plaintiff. Upon receipt
of Defendant's letter, Plaintiff opened and read it. The letter demanded payment of
a debt allegedly owed by Plaintiff to Milford Management Corp. A copy of said
letter is annexed hereto as Exhibit A.

15. Onor about April 25, 2007, Plaintiff notified Defendant D.B.F through
his attorney, Joseph K. Jones, Esq., that he disputed the validity of the alleged
debt and requested a full accounting. Furthermore, Defendant D.B.F was
instructed to cease all collection efforts.

16. On or about April 30, 2007, and upon receipt of the accounting,
Plaintiff's attorney promptly notified Defendant D.B.F (via facsimile (516) 295-
4016 and regular mail) that Plaintiff still disputed the alleged debt and again
instructed Defendant D.B.F to immediately cease all collection efforts. A copy of

said letter is annexed hereto as Exhibit B.

 
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17. Upon receipt of the facsimile, Defendant Marino contacted Plaintiff's
} attorney, Joseph K. Jones, Esq., and stated that “If the Plaintiff was not going to
pay this debt, then the Defendants would promptly sue him”, and abruptly hung up
the telephone.

18. On or about June 5, 2007, Defendant D.B.F. sent (via facsimile)
another collection letter/ Final Notice to Plaintiff. A copy of said letter is annexed
hereto as Exhibit C.

COUNT |

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692
VIOLATION OF 15 U.S.C. 8 1692e(8)

19. Plaintiff repeats the allegations contained in paragraphs 1 through 18
as if the same were set forth at length.

20. Collection letters and/or notices, such as those sent by Defendants,
are to be evaluated by the objective standard of the hypothetical “least
sophisticated consumer.”

21. Section1692e of the FDCPA states that: “A debt collector may not
use any false, deceptive, or misleading representation or deceptive means in
connection with the collection of any debt.”

22. Section 1692e(8) makes it a violation of the FDCPA for a debt
collector to: “Communicat[e] or threaten to communicate to any person credit
information which is known or which should be known to be false ....”

23. Defendants violated § 1692e(8) of the FDCPA by including in their

collections letters the word “IMPORTANT” {in reverse copy with a larger font size),

 

 

 

 
 

 

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followed by the words “MEMBER experian formerly TRW", which implies a

threat that Defendants somehow have the ability to communicate negative
information regarding the alleged debt to the national credit reporting agencies,
which they knew or should have known was or could be false. See, Exhibit A.

24. By reason thereof, Plaintiff has sustained damages when the
Defendants communicated and threatened to communicate negative information to
Experian and TRW.

25. By reason thereof, Defendants are liable to Plaintiff for declaratory
judgment that Defendants’ conduct violated Section 1692e(8) of the FDCPA,
actual damages, statutory damages, costs and attorneys’ fees.

COUNT Il

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. 8 1692
VIOLATION OF 15 U.S.C. § 1692e(9)

26. Plaintiff repeats the allegations contained in paragraphs 1 through 25
as tf the same were here set forth at length.

27. Section 1692e(9) makes a violation of the FDCPA the: “[Ulse or
distribution of any written communication which simulate or is falsely represented
to be a document authorized, issued, or approved ... which creates a false
impression as to its source, authorization, or approval.”

28. Defendants violated § 1692e(9) of the FDCPA by using and
distributing collection letters which falsely represents that Defendants are
authorized or approved by “Experian formerly TRW” (which is a commonly known

major credit reporting agency) to collect the alleged debt. The design of the

 

 
 

 

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collection letter strategically placed the words “IMPORTANT” (in reverse copy with
a larger font size), “MEMBER experian formerly TRW”, and “NYC DCA Lic#

1111249;” in such a placement pattern as to intentionally cause the consumer to
read them together. Defendants actions are misleading because the “least
sophisticated consumer” is misled into falsely believing that it is “IMPORTANT”

that the Defendants are “MEMBERI[S] of experian formerly TRW.” Furthermore,

these words are strategically placed directly above “NYC DCA Lic# 1111249",

which misleads the “least sophisticated consumer” into believing that Defendants

are licensed by the City of New York to act as a “MEMBER of experian formerly

TRW.” See, Exhibit A.

29. By reason thereof, Plaintiff has sustained damages when the
Defendants distributed collection letters and/or notices which falsely represents
that Defendants are licensed by the City of New York to be a member of “Experian
formerly TRW” and that Defendants are approved and/or authorized by “Experian
formerly TRW" to collect the alleged debt.

30. By reason thereof, Defendants are liable to Plaintiff for declaratory
judgment that Defendants’ conduct violated Section 1692e(9) of the FDCPA,
actual damages, statutory damages, costs and attorneys’ fees.

COUNT Il

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692
VIOLATION OF 15 U.S.C. § 1692e(10)
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31. Plaintiff repeats the allegations contained in paragraphs 1 through 30
as if the same were here set forth at length.

32. Section 1692e(10) of the FDCPA makes it a violation for a debtor
collector to: “{U]lse any false representation or deceptive means to collect or
attempt to collect any debt or to obtain information concerning a consumer.”

33. By intentionally implying that “S. Katz, Attorney at Law”, who upon
information and belief is not licensed to practice law in the State of New Jersey,
was involved with the collection of the alleged debt', Defendants employed
deceptive means and made false representations in an attempt to collect the
alleged debt from Plaintiff, which is a violation of § 1692e(10}. See, Exhibit C.

34. By reason thereof, Plaintiff has sustained damages when the
Defendants used false and deceptive means in an attempt to collect the alleged
debt.

35. By reason thereof, Defendants are liable to Plaintiff for declaratory
judgment that Defendants’ conduct violated Section 1692e(10) of the FDCPA,
actual damages, statutory damages, costs and attorneys’ fees.

COUNT IV

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692
VIOLATION OF 15 U.S.C. § 1692e(14}

36. Plaintiff repeats the allegations contained in paragraphs 1 through 35

as if the same were here set forth at length.

 

'§. Katz, Attorney at Law is copied on the bottom left of the June 5, 2007 letter, See, Exhibit C.

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37. Section 1692e(14) of the FDCPA makes it a violation to: “[U]se any
business, company, or organization name other than the true name of the debt
collector’s business, company, or organization.”

38. Defendants violated § 1692e(14) by deceptively using the following
names in their collection letters: Experian; TRW; MoneyGram; and ACA
International: none of which are the true names of either Defendant. See, Exhibit A.

39. By reason thereof, Plaintiff has sustained damages when the
Defendants deceptively used names other than their true names in their collection
letters in attempt to collect the allege debt.

40. By reason thereof, Defendants are liable to Plaintiff for declaratory
judgment that Defendants’ conduct violated Section 1692e(14) of the FDCPA,

actual damages, statutory damages, costs and attorneys’ fees.

COUNT V

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692
VIOLATION OF 15 U.S.C. § 1692e(16)

41. Plaintiff repeats the allegations contained in paragraphs 1 through 40
as if the same were here set forth at length.

42. Section 1692e(16) of the FDCPA makes a violation: “The false
representation or implication that a debt collector operates or is employed by a
consumer reporting agency as defined by section 1681a(f) of this title.”

43. Defendants violated § 1692e(16) by falsely representing in their

collection letters and/or notices that they are a “MEMBER of experian formerly

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TRW.” These words are strategically placed right next to the word “IMPORTANT”

and are directly above “NYC DCA Lic# 1111249”, which would mislead the “least
sophisticated consumer” into believing that Defendants are licensed by the City of
New York to operate or is licensed/employed by a major national credit reporting
agency (Experian formerly TRW). Furthermore, on the reverse side of the collection
letters which contains the required thirty-day (30) notice under § 1692g{a), the

following words appear: See Exhibit A.

TO CHECK YOUR CREDIT CONTACT
Experian
701 Experian Parkway
PO Box 2002
Allen, TX 75013

Toll Free: 888-397-3724
Website: www.experian.com/reportaccess

44. By reason thereof, Plaintiff has sustained damages when the
Defendants mailed collection letters which falsely represented that Defendants
were licensed to operate or was employed by a credit reporting agency.

45. By reason thereof, Defendants are liable to Plaintiff for declaratory
judgment that Defendants’ conduct violated Section 1692e{16) of the FDCPA,

actual damages, statutory damages, costs and attorneys’ fees.

COUNT VI

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692
VIOLATION OF 15 U.S.C. § 1692g(a)

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46. Plaintiff repeats the allegations contained in paragraphs 1 through 45
as if the same were here set forth at length.

47. Section 1692g requires the debt collector to give what is commonly
referred to as a thirty-day (30) notice within five (5) days of its communication
with the consumer.

48. Defendants violated § 1692g{a) by mailing collections letters and/or
notices with language that overshadows the required thirty-day (30) notice.

49. Defendants strategically placed the required notice of 81692g{a) an
the back of their collection letters without providing adequate notice to the
consumers that information effecting their legal rights are on the back of the
letters.

50. The only telephone number listed on the reverse side of the collection
letters is a toll free number directly below the name and address Experian, which
sits directly below the notice which informs the consumer of their right to dispute
the allege debt.

51. The “least sophisticated consumer” would dial the toll free telephone
number to dispute the allege debt.

52. By reason thereof, Plaintiff has sustained damages when the
Defendants distributed collection letters and/or notices designed with language that
overshadows the required thirty (30) days notice.

53. By reason thereof, Defendants are liable to Plaintiff for declaratory

judgment that Defendants’ conduct violated Section 1692g(a} of the FDCPA, actual

 

 

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damages, statutory damages, costs and attorneys’ fees.

COUNT VII

FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692
VIOLATION OF 15 U.S.C. § 1692c(c}

54. Plaintiff repeats the allegations contained in paragraphs 1 through 53
as if the same were here set forth at length.

55. Section 1692c(c) of the FDCPA states:

lf a consumer notifies a debt collector in writing
that the consumer refuses to pay a debt or that
the consumer wishes the debt collector to cease
further communication with the consumer, the
debt collector shall not communicate further with
the consumer with respect to such debt, except--

(1) to advise the consumer that the debt
collector's further efforts are being terminated;

(2) to notify the consumer that the debt collector
or creditor may invoke specified remedies which
are ordinarily invoked by such debt collector or
creditor: or

(3) where applicable, to notify the consumer that
the debt collector or creditor intends to invoke a
specified remedy.

56. Section 1692a(2} of the FOCPA defines communication as “[T]he

conveying of information regarding a debt directly or indirectly to any person

through any medium.”

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57. On April 20, 2007, Defendants mailed a collection letter to the
Plaintiff demanding payment of a debt allegedly owed by the Plaintiff. See, Exhibit
A.

58. Onor about April 25, 2007, Plaintiff notified the Defendants through
his attorney that he disputed the validity of the alleged debt and advised the
Defendants to cease all collection efforts.

59. On or about April 30, 2007, Defendants sent (via facsimile) an
accounting of the alleged debt to Plaintiff's attorney.

60. On April 30, 2007, Plaintiff through his attorney (via facsimile and
regular mail) informed Defendants that he did not agree with the accounting and
further instructed Defendants to “immediately cease all collection efforts in this
matter.” See, Exhibit B.

61. On April 30, 2007, Defendant Marino called Plaintiff's attorney and
informed him that “If the Plaintiff was not going to pay this debt, then the
Defendants would promptly sue him”, and abruptly hung up the telephone.

62. On June 5, 2007, Defendants sent a “FINAL NOTICE” collection letter
addressed to Plaintiff (via facsimile to 973-244-0019} in violation of §1692c(c),
See, Exhibit C.

63. Said collection letter was a demand for payment in full of the alleged
debt within thirty (30) days or “THIS MATTER WILL BE REFERRED TO OUR

ATTORNEYS.” See, Exhibit C.
 

 

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64. Said collection letter was copied to “S. Katz, Attorney at Law.” See,
Exhibit C.

65. Said collection letter was signed by defendant, “Lisa Marino”
COLLECTION AGENT. See, Exhibit C.

66. By reason thereof, Plaintiff has sustained damages when the
Defendants attempted to contact the Plaintiff through his attorney after they were
advised to cease further communications, by sending a “FINAL NOTICE” (via
facsimile) addressed to Plaintiff and copied to “S. Katz, Attorney at Law.”

67. By reason thereof, Defendants are liabie to Plaintiff for declaratory
judgment that Defendants’ conduct violated Section 1692c(c) of the FDCPA, actual
damages, statutory damages, costs and attorneys’ fees.

WHEREFORE, Plaintiff demand judgment against the Defendants on
each count as follows:

(a) Declaring that this action is properly maintainable as a Class
Action and certifying Plaintiff as Class representative and the attorneys, Joseph K.
Jones, Esq. and Warren S. Dank, Esq. as Class Counsel:

(b) Issuing a preliminary and/or permanent injunction restraining
Defendants, their employees, agents and successors from, /nter alia, engaging in
conduct and practices that are in violation of the FDCPA;

(c) Issue a declaratory Order requiring Defendants to make
corrective disclosures;

(d) Awarding Plaintiff and the Class statutory damages;
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| {e) Awarding Plaintiff costs of this Action, including reasanabile
attorneys’ fees and expenses; and

(f} Awarding Plaintiff and the Class such other and further relief as
ij the Court may deem just and proper.

Dated: Fairfield, New Jersey
August 28, 2007 —

ea aeseph Ksones |

375 Passaic AV , Suite 100
Fairfield, New Jersey 07004
(973} 227-5900

(973} 244-0019 facsimile

Waa: 7. Lathr~

Warren S. Dank (WD-3980)
Law Offices of Warren S. Dank
62 Belmont Circle

Syosset, New York 11791
(516) 660-9453

(516) 364-6308 facsimile

 

 

 

   

 

DEMAND FOR TRIAL BY JURY

 

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

  
  
   

request a trial by jury on all issues so triable.

 

Jone -550

Warren S$. Dank (WD-3980)

 

 
 

 

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CERTIFICATION PURSUANT TO LOCAL RULE 11.2
The undersigned attorney of record for Plaintiff does hereby certify to
my own knowledge and based upon information available to me at my office, the
matter in controversy is not the subject of any other action now pending in any

court or in any arbitration or administrative proceeding.

Dated: August 28, 2007

 

 

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CERTIFICATION PURSUANT TO LOCAL RULE 11.2
The undersigned attorney of record for Plaintiff does hereby certify to
my own knowledge and based upon information available to me at my office, the
matter in controversy is not the subject of any other action now pending in any

court or in any arbitration or administrative proceeding.

Dated: August 28, 2007 Ws, Ss TN
Min, “ - |

Warren S. Dank (WD-3980}

 

 

 

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VERIFICATION

State of New Jersey }

County of Essex )

|, Bruce J. Wishnia, hereby certify that the facts contained in the
foregoing Complaint are true and correct to the best of my knowledge, information

and belief.

Dated: August 28, 2007

 

—Bruce J/ Widrnia

     

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PFTMERLE UOT ERCHY
Notary Public

   

 

 

Swarm to and subscribed
MICHELLE GONCALVES mo this
NOTARY PUBLIC OF NEW JERSEY eC, 20 /
__ Commission Expires 3/29/2009
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